
[*]
Pennington, J.
The defendant below, got a verdict and judgment. The plaintiff brings this writ, and says that the justice had no jurisdiction of the cause; but gives no reason, nor is there anything in the record to show it. He also says, that the justice rejected lawful testimony. As to this, the record says, that on the trial, “ the plaintiff offered a bill of goods which was let to the defendant to sell or return, not admitted.” It appears to me, that something more ought to appear to show why this bill of goods should have been admitted in evidence, before we can say that the justice did wrong in. rejecting of it.
Another objection is, that it does not appear that the jurors were sworn.
I believe that this court has refused to reverse, merely because the-justice neglected to enter on his docket that the jury were sworn; be that as it may, the record in this case, says that the jurors were all sworn or affirmed. I can perceive, no reason why tliik judgment should not be affirmed.
Kirkpatrick, C. J. and Rossell, J. — Concurred.
Judgment affirmed.
